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                                                                                     The parties' letter-motion (ECF No. 137) requesting to
                                                                                                              New York
                                                                                     adjourn the in-person status
                                                                                                              The Newconference    scheduled for
                                                                                                                       York Times Building
                                                                                     August 5, 2021 is GRANTED,     and Avenue
                                                                                                              620 Eighth the conference is
                                                                                     ADJOURNED sine die.      36th Floor
                                                                                                                            New York, NY 10018
                                                                                                                            (212) 899-990 Tel
                                                                                     The Clerk of Court is respectfully directed to close ECF
                                                                                     No. 137.
                                                                                                                            Writer's Direct Dial:
                                                                                                                            (212) 899-9975
                                                                                     SO ORDERED 8/4/2021
                                                                                                                            Writer's E-mail:
August 3, 2021                                                                                                              skaufman@fisherphillips.com



Via ECF
Honorable Sarah L. Cave
United States Magistrate Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

            Re:         Curry et al. v. P & G Auditors & Consultants, LLC et al.,
                        Civil Action No. 20-cv-6985 (LTS) (SLC)

Dear Judge Cave:

        We represent P&G Auditors and Consultants, LLC, GRC Solutions, LLC, and PGX, LLC
in the above-captioned matter. We write on behalf of all Parties in the above-referenced action.
Pursuant to the Court’s July 21, 2021 order (ECF Dkt. No. 130), please find a single version of
the revised Notice of Pendency and Proposed Text Message. After meeting and conferring, the
Parties write to inform the Court that they have agreed upon the language to be used in the Notice
of Pendency and Proposed Text Message.

        The only issue that the Parties wish to bring to the Court’s attention pertains to the period
of the conditionally certified class. The Court’s June 14, 2021 Opinion and Order (the “Order”)
granted conditional certification of a “collective comprised of AMLs, TLs, and QAs who worked on
Project/Lookback 2 and Project 2/Lookback 2 within three (3) years of distribution of notice….”
(See Dkt.122 p. 33.) However, the Parties have stipulated to 102 days of tolling, and have
indicated this in the revised Notice of Pendency. The Parties raise this to the Court so that it is
aware of the discrepancy between the revised Notice of Pendency and the Court’s Order.

        In light of the fact that no dispute remains with respect to the language to be included in
either the Notice of Pendency or Proposed Text Message, the Parties jointly request that the
conference scheduled for August 5, 2021 be adjourned.

            Thank you for Your Honor’s attention to this matter.

                                                                         Respectfully submitted,

                                                                         s/ Seth D. Kaufman
                                                                 Fisher & Phillips LLP
    Atlanta • Baltimore • Bethesda • Boston • Charlotte • Chicago • Cleveland • Columbia • Columbus • Dallas • Denver • Detroit • Fort Lauderdale • Gulfport
  Houston • Irvine • Kansas City • Las Vegas • Los Angeles • Louisville • Memphis • Nashville • New Jersey • New Orleans • New York • Orlando • Philadelphia
Phoenix • Pittsburgh • Portland • Sacramento • San Diego • San Francisco • Seattle • Tampa • Washington, DC
FP 41278937.2
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                                        Seth D. Kaufman
                                        For FISHER & PHILLIPS LLP

cc:     Counsel of record (via ECF)

Enclosures: Revised Notice of Pendency and Proposed Text Message




FP 41278937.2
